                                              Entered on Docket
                                              October 09, 2019
                                              EDWARD J. EMMONS, CLERK
                                              U.S. BANKRUPTCY COURT
                                              NORTHERN DISTRICT OF CALIFORNIA


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                                            Signed and Filed: October 9, 2019
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                                            ________________________________________
 4                                          DENNIS MONTALI
                                            U.S. Bankruptcy Judge
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 6
 7                        UNITED STATES BANKRUPTCY COURT
 8                        NORTHERN DISTRICT OF CALIFORNIA
 9
     In re:                            )            Bankruptcy Case
10                                     )            No. 19-30088-DM
     PG&E CORPORATION,                 )
11                                     )            Chapter 11
                  - and -              )
12
                                       )            Jointly Administered
13   PACIFIC GAS AND ELECTRIC COMPANY, )
                                              )
14               Debtors.                     )     Date: October 23, 2019
                                              )     Time: 10:00 AM
15                                            )
     ☐ Affects PG&E Corporation               )     Place: Courtroom 17
16   ☐ Affects Pacific Gas and                )            450 Golden Gate Ave.
         Electric Company                     )            16th Floor
17                                            )            San Francisco, CA
     ☒ Affects both Debtors                   )
18                                            )
     * All papers shall be filed        in    )
19   the Lead Case, No. 19-30088        (DM). )
                                              )
20
21       ORDER DENYING DEBTORS’ SECOND EXCLUSIVITY EXTENSION MOTION

22         On September 25, 2019, debtors PG&E Corporation and Pacific

23   Gas and Electric Company filed a motion pursuant to 11 U.S.C. §

24   1121(d) to further extend exclusive periods (the “Second

25   Exclusivity Extension Motion”) and set it for hearing on October

26   23, 2019 at 10:00 a.m.       For the reasons set forth in this

27   court’s Order Granting Joint Motion of The Official Committee of

28   Tort Claimants and The Ad Hoc Committee of Senior Unsecured

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 1   Noteholders to Terminate The Debtors’ Exclusive Periods Pursuant

 2   to Section 1121(d)(1) of The Bankruptcy Code (entered

 3   contemporaneously with this order), the court hereby DENIES the

 4   Second Exclusivity Extension Motion and takes it OFF the October

 5   23, 2019, calendar.

 6                                 **END OF ORDER**

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